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                                     UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                                              CRIMINAL ACTION

VERSUS                                                                                               No. 09-142

DARTAGNAN COLEMAN                                                                                 SECTION: I

                                             ORDER AND REASONS

           Before the Court is the motion of defendant, Dartagnan Coleman, for a sentence

reduction pursuant to 18 U.S.C. § 3582(c)(2).1

           On September 17, 2009, defendant pled guilty to conspiracy to possess with the intent to

distribute 50 grams or more of cocaine base and 500 grams or more of cocaine hydrochloride in

violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), 841(b)(1)(B), and 846. On January 7, 2010,

this Court sentenced defendant to the mandatory minimum term of 120 months imprisonment.

           The sole basis of defendant’s present motion is that the Fair Sentencing Act of 2010

(“FSA”) should be retroactively applied to his case, causing his sentence to be significantly

reduced. The Court is unable to grant defendant any relief.

           As the United States Court of Appeals for the Fifth Circuit recently determined in United

States v. Doggins, --- F.3d ---- , 2011 WL 438935 (5th Cir. Feb. 9, 2011), “the Savings Statute, 1

U.S.C. § 109, provides that the reduction of any criminal sentence will not apply retroactively

unless the relevant act expressly so states. The Fair Sentencing Act does not so state, so it does

1
    18 U.S.C. § 3582(c)(2) states:

                 The court may not modify a term of imprisonment once it has been imposed except that
                 . . . in the case of a defendant who has been sentenced to a term of imprisonment based
                 on a sentencing range that has subsequently been lowered by the Sentencing
                 Commission pursuant to U.S.C. 994(o), upon motion of the defendant or the Director of
                 the Bureau of Prisons, or on its own motion, the court may reduce the term of
                 imprisonment, after considering the factors set forth in section 3553(a) to the extent that
                 they are applicable, if such a reduction is consistent with applicable policy statements
                 issued by the Sentencing Commission.

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not apply retroactively.” This Court reached the same conclusion in earlier cases. See, e.g.,

United States v. Boyd, 08-70, 2010 WL 5373923 (E.D. La. Dec. 21, 2010). Defendant was

sentenced before the FSA was enacted. Because the Fifth Circuit has determined that the FSA is

not retroactive, Meredith cannot rely upon the FSA to seek a sentence reduction.

        Accordingly, IT IS ORDERED that defendant’s motion for a sentence reduction

pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.2
                                        11th 2011.
        New Orleans, Louisiana, April ________,




                                                             ___________________________________
                                                                      LANCE M. AFRICK
                                                              UNITED STATES DISTRICT JUDGE




2
 The Court notes that United States v. Henderson, --- F.3d ----, 2011 WL 1053361 (5th Cir. Mar. 24, 2011) does not
impact this Court’s analysis. United States Sentencing Guidelines § 1B1.10, application note 1(A) states that:

              [A] reduction in the defendant’s term of imprisonment is not authorized under 18
              U.S.C. 3582(c)(2) and is not consistent with this policy statement if . . . an amendment
              listed in subsection (c) is applicable to the defendant but the amendment does not have
              the effect of lowering the defendant’s applicable guideline range because of the
              operation of another guideline or statutory provision (e.g., a statutory mandatory
              minimum term of imprisonment.).

As stated, defendant was sentenced to 120 months imprisonment, i.e., the ten-year statutory mandatory minimum
term of imprisonment in effect at the time he violated 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), 841(b)(1)(B), and 846
and was sentenced. Regardless of whether the sentencing guidelines applicable in this matter have subsequently
been lowered, the Court could not resentence defendant to any term of imprisonment below the ten-year statutory
mandatory minimum.

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